
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
In these consolidated appeals, David M. Kissi appeals from the district court’s orders denying as frivolous his multiple mo*218tions for recusal, return of fees, and to dissolve a prefiling injunction. We have reviewed the record and find no reversible error. Accordingly, we deny all of Kissi’s pending motions and affirm for the reasons stated by the district court. Pramco II, LLC v. Kissi Nos. 8:02-cv-00042-PJM 8:02-cv-00043-PJM; 8:03-cv-02241-PJM; 8:02-cv-00044-PJM (D. Md. June 20, 2008); Kissi v. Kremen, No. 8:08-cv-00748-PJM (D. Md. June 3, 2008; June 20, 2008). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED.

